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CENTER FOR COMMUNITY ACTION

AND ENVIRONMENTAL JUSTICE

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CENTER FOR COMMUNITY

ACTION AND ENVIRONMENTAL

JUSTICE, a non-profit corporation,
Plaintiff,

VS.

PRAXAIR, INC., a corporation,
DOES 1 through 10,

Defendants.

COMPLAINT

Case No.

COMPLAINT FOR DECLARATORY
AND INJUNCTIVE RELIEF AND
CIVIL PENALTIES

(Federal Water Pollution Control Act, 33
U.S.C. §§ 1251 to 1387)

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CENTER FOR COMMUNITY ACTION AND ENVIRONMENTAL
JUSTICE (“CCAEJ” or “Plaintiff’), a California non-profit corporation, by and

through its counsel, hereby alleges:

I. JURISDICTION AND VENUE

1, — This is a civil suit brought under the citizen suit enforcement provisions
of the Federal Water Pollution Control Act, 33 U.S.C. § 1251, et seg. (the “Clean
Water Act” or “the Act”). This Court has subject matter jurisdiction over the parties
and the subject matter of this action pursuant to Section 505(a)(1)(A) of the Act, 33
ULS.C. § 1365(a)(1 (A), and 28 U.S.C. § 1331 (an action arising under the laws of the
United States). The relief requested is authorized pursuant to 28 U.S.C. §§ 2201-02
(power to issue declaratory relief in case of actual controversy and further necessary
relief based on such a declaration); 33 U.S.C. §§ 1319(b), 1365(a) (injunctive relief);
and 33 U.S.C. §§ 1319(d), 1365(a) (civil penalties).

2. On May 22, 2014, Plaintiff provided notice of Defendant’s violations of
the Act, and of its intention to file suit against Defendant, to the Administrator of the
United States Environmental Protection Agency (“EPA”); the Administrator of EPA
Region IX; the Executive Director of the State Water Resources Control Board (“State
Board”); the Executive Officer of the California Regional Water Quality Control
Board, Santa Ana Region (“Regional Board”); and to Defendant PRAXAIR, Inc.

(“PRAXAIR”), as required by the Act, 33 U.S.C. § 1365(b)(1)(A). A true and correct

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copy of the notice letter is attached as Exhibit A, and is incorporated by reference.

3. More than sixty days have passed since notice was served on PRAXAIR
and the State and federal agencies. Plaintiff is informed and believes, and thereupon
alleges, that neither the EPA nor the State of California has commenced or is
diligently prosecuting a court action to redress the violations alleged in this complaint,
This action’s claim for civil penalties is not barred by any prior administrative penalty
under Section 309(g) of the Act, 33 U.S.C. § 1319(g).

4, Venue is proper in the Central District of California pursuant to Section
505(c)(1) of the Act, 33 U.S.C. § 1365(c)(1), because the source of the violations is
located within this judicial district.

li. INTRODUCTION

5, This complaint seeks relief for discharges of storm water and non-storm
water pollutants from Defendant PRAXAIR’S industrial gas processing facility
located at 5705 E. Airport Dr. Ontario, California (hereinafter “Facility”) in violation
of the Act and National Pollutant Discharge Elimination System (“NPDES”) Permit
No. CA $000001, State Water Resources Control Board Water Quality Order
No, 91-13-DWQ, as amended by Water Quality Order No. 92-12-DWQ and Water
Quality Order No. 97-03-DWQ (hereinafter the “Permit” or “General Permit”).
Defendant’s failure to comply with the discharge, treatment technology, monitoring

requirements, and other procedural and substantive requirements of the Permit and the

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Act are ongoing and continuous.
Ti. PARTIES

6. Plaintiff CCAEJ is a non-profit public benefit corporation under the laws
of the State of California with its main office in Jurupa Valley, California. CCAEJ
dedicated to working with communities to advocate for environmental justice and
pollution prevention. CCAEJ and its members are deeply concerned with protecting
the environment in and around their communities, including the Santa Ana River
Watershed. To further these goals, CCAEJ actively seeks federal and state agency
implementation of the Act and other laws and, where necessary, directly initiates
enforcement actions on behalf of itself and its members.

7. CCAEJ has members living in the community adjacent to the Facility
and the Santa Ana River Watershed. They enjoy using the Santa Ana River for
recreation and other activities. Members of CCAEJ use and enjoy the waters into
which Defendant has caused, is causing, and will continue to cause, pollutants to be
discharged. Members of CCAE] use those areas to recreate and view wildlife, among
other things. Defendant’s discharges of pollutants threaten or impair each of those
uses or contribute to such threats and impairments. Thus, the interests of CCAE]J’s
members have been, are being, and will continue to be adversely affected by
Defendant’s failure to comply with the Clean Water Act and the Permit. The relief

sought herein will redress the harms to Plaintiff caused by Defendant’s activities,

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8, Continuing commission of the acts and omissions alleged above will
irreparably harm Plaintiff and its members, for which harm they have no plain, speedy
or adequate remedy at law.

9. Plaintiff alleges on information and belief that Defendant PRAXAIR,
INC. is a Delaware corporation that operates the Facility in Ontario, California,

10. Upon information and belief, and upon that basis, Plaintiff alleges that
the true names, or capacities of DOES 1 through 10, inclusive (the “DOES”), whether
individual, corporate, associate or otherwise, are presently unknown to PLAINTIFF,
who therefore sue said Defendants by such fictitious names. Plaintiff will amend this
Complaint to show their true names and capacities when the same have been
ascertained. Whether or not PRAXAIR is associated with any other individual,
corporate, associate or otherwise was not immediately apparent through an initial
investigation completed by PLAINTIFF.

11. PRAXAIR and DOES 1 through 10 are referred to collectively
throughout this Complaint as Defendant or Defendants.

IV. STATUTORY BACKGROUND

12. Section 301(a) of the Act, 33 U.S.C. § 1311{a), prohibits the discharge of
any pollutant into waters of the United States, unless such discharge is in compliance
with various enumerated sections of the Act. Among other things, Section 301 (a)

prohibits discharges not authorized by, or in violation of, the terms of an NPDES

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1 permit issued pursuant to Section 402 of the Act, 33 U.S.C. § 1342.
2 13. Section 402(p) of the Act establishes a framework for regulating
municipal and industrial storm water discharges under the NPDES program. 33
5 | U.S.C. § 1342(p). States with approved NPDES permit programs are authorized by
® | Section 402(p) to regulate industrial storm water discharges through individual
permits issued to dischargers or through the issuance of a single, statewide general
9] permit applicable to all industrial storm water dischargers. 33 U.S.C. § 1342(p).
14. Pursuant to Section 402 of the Act, 33 U.S.C. § 1342, the Administrator
12 | of the U.S. EPA has authorized California’s State Board to issue NPDES permits,
13 including general NPDES permits, in California.
15. The State Board elected to issue a statewide general permit for industrial
16 storm water discharges. The State Board issued the General Permit on or about
. November 19, 1991, modified the General Permit on or about September 17, 1992,
19 | and reissued the General Permit on or about April 17, 1997, pursuant to Section
20} 402(p) of the Clean Water Act, 33 U.S.C. § 1342(p).
. 16. IJnorder to discharge storm water lawfully in California, industrial
23 | dischargers must comply with the terms of the General Permit or have obtained and
24 complied with an individual NPDES permit. 33 U.S.C. § 1311(a).
. 17. The General Permit contains several prohibitions. Effluent Limitation
27 B(3) of the General Permit requires dischargers to reduce or prevent pollutants in their
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storm water discharges through implementation of the Best Available Technology
Economically Achievable (“BAT”) for toxic and nonconventional pollutants and the
Best Conventional Pollutant Control Technology (“BCT”) for conventional pollutants.
BAT and BCT include both nonstructural and structural measures. General Permit,
Section A(8). Discharge Prohibition A(2) of the General Permit prohibits storm water
discharges and authorized non-storm water discharges that cause or threaten to cause
pollution, contamination, or nuisance. Receiving Water Limitation C(1) of the
General Permit prohibits storm water discharges to any surface or ground water that
adversely impact human health or the environment. Receiving Water Limitation C(2)
of the General Permit prohibits storm water discharges that cause or contribute to an
exceedance of any applicable water quality standards contained in Statewide Water
Quality Control Plan or the applicable Regional Board’s Basin Plan.

18. In addition to absolute prohibitions, the General Permit contains a variety
of substantive and procedural requirements that dischargers must meet. Facilities
discharging, or having the potential to discharge, storm water associated with
industrial activity that have not obtained an individual NPDES permit must apply for
coverage under the State’s General Permit by filing a Notice of Intent to Comply
(“NOI”). The General Permit requires existing dischargers to have filed their NOIs
before March 30, 1992.

19. Dischargers must develop and implement a Storm Water Pollution

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Prevention Plan (“SWPPP”). The SWPPP must describe storm water control facilities
and measures that comply with the BAT and BCT standards. The General Permit
requires that an initial SWPPP have been developed and implemented before October
1, 1992. The SWPPP must, among other requirements, identify and evaluate sources
of pollutants associated with industrial activities that may affect the quality of storm
and non-storm water discharges from the facility and identify and implement site-
specific best management practices (“BMPs”) to reduce or prevent pollutants
associated with industrial activities in storm water and authorized non-storm water
discharges (Section A(2)). The SWPPP’s BMPs must implement BAT and BCT
(Section B(3)). The SWPPP must include: a description of individuals and their
responsibilities for developing and implementing the SWPPP (Section A(3)); a site
map showing the facility boundaries, storm water drainage areas with flow pattern and
nearby water bodies, the location of the storm water collection, conveyance and
discharge system, structural control measures, impervious areas, areas of actual and
potential pollutant contact, and areas of industrial activity (Section A(4)); a list of
significant materials handled and stored at the site (Section A(5)); a description of
potential pollutant sources including industrial processes, material handling and
storage areas, dust and particulate generating activities, and a description of
significant spills and leaks, a list of all non-storm water discharges and their sources,

and a description of locations where soil erosion may occur (Section A(6)}. The

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SWPPP must include an assessment of potential pollutant sources at the Facility and a
description of the BMPs to be implemented at the Facility that will reduce or prevent
pollutants in storm water discharges and authorized non-storm water discharges,
including structural BMPs where non-structural BMPs are not effective (Section A(7),
(8)). The SWPPP must be evaluated to ensure effectiveness and must be revised
where necessary (Sections A(9), (10)).

20. Section C(11)(d) of the General Permit’s Standard Provisions requires
dischargers to report any noncompliance to the Regional Board. See also Section
E(6). Section A(9) of the General Permit requires an annual evaluation of storm water
controls including the preparation of an evaluation report and implementation of any
additional measures in the SWPPP to respond to the monitoring results and other
inspection activities.

21. The General Permit requires dischargers commencing industrial activities
before October 1, 1992 to develop and implement an adequate written monitoring and
reporting program no later than October 1, 1992, Existing facilities covered under the
General Permit must implement all necessary revisions to their monitoring programs
no later than August 1, 1997.

22. As part of their monitoring program, dischargers must identify all storm
water discharge locations that produce a significant storm water discharge, evaluate

the effectiveness of BMPs in reducing pollutant loading, and evaluate whether

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pollution control measures set out in the SWPPP are adequate and properly
implemented. Dischargers must conduct visual observations of these discharge
locations for at least one storm per month during the wet season (October through
May) and record their findings in their Annual Report. Dischargers must also collect
and analyze storm water samples from at least two storms per year. Section B(5)(a) of
the General Permit requires that dischargers “shall collect storm water samples during
the first hour of discharge from (1) the first storm event of the wet season, and (2) at
least one other storm event in the wet season. All storm water discharge locations
shall be sampled.” Section B(5\{c\{1) requires dischargers to sample and analyze
during the wet season for basic parameters, such as pH, total suspended solids,
electrical conductance, and total organic content or oil & grease, certain industry-
specific parameters, Section B(5)(c)(i1) requires dischargers to sample for toxic
chemicals and other pollutants likely to be in the storm water discharged from the
facility. Section B(5)(c)(iti) requires discharges to sample for parameters dependent
on a facility’s standard industrial classification (“SIC”) code. Section B(7)(a)
indicates that the visual observations and samples must represent the “quality and
quantity of the facility’s storm water discharges from the storm event.” Section
B(7)(c) requires that “if visual observation and sample collection locations are
difficult to observe or sample...facility operators shall identify and collect samples

from other locations that represent the quality and quantity of the facility’s storm

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water discharges from the storm event.”

23. The General Permit requires that facility operators “investigate the
facility to identify all non-storm water discharges and their sources. As part of this
investigation, all drains (inlets and outlets) shall be evaluated to identify whether they
connect to the storm drain system. All non-storm water discharges shall be described.
This shall include the source, quantity, frequency, and characteristics of the non-storm
water discharges and associated drainage area.” Section A(6){a)(v). The General
Permit authorizes certain non-storm water discharges providing that the non-storm
water discharges are in compliance with Regional Board requirements; that the non-
storm water discharges are in compliance with local agency ordinances and/or
requirements; that best management practices (“BMPs”) are included in the Storm
Water Pollution Prevention Plan to (1) prevent or reduce the contact of non-storm
water discharges with significant materials or equipment and (2) minimize, to the
extent practicable, the flow or volume of non-storm water discharges; that the non-
storm water discharges do not contain significant quantities of pollutants; and that the
monitoring program includes quarterly visual observations of each non-storm water
discharge and its sources to ensure that BMPs are being implemented and are
effective (Special Conditions D). Section B(3) of the General Permit requires
dischargers to conduct visual observations of all drainage areas for the presence of

non-storm water discharges, to observe the non-storm water discharges, and maintain

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records of such observations.

24. Section B(14) of the General Permit requires dischargers to submit an
annual report by July 1 of each year to the executive officer of the relevant Regional
Board. The annual report must be signed and certified by an appropriate corporate
officer. Sections B(14), C(9), (10). Section A(9)(d) of the General Permit requires
the discharger to include in their annual report an evaluation of their storm water
controls, including certifying compliance with the General Permit. See also Sections
C(9), C10) and B(14).

25. The General Permit does not provide for any mixing zones by
dischargers. The General Permit does not provide for any dilution credits to be
applied by dischargers.

26. The Regional Board has identified beneficial uses of the Santa Ana River
Watershed and established water quality standards for the river and its tributaries in
“The Water Quality Control Plan (Basin Plan) for the Santa Ana River Basin”
(hereinafter “Basin Plan”). See California Regional Water Quality Control Board,
Santa Ana Region, The Water Quality Control Plan (Basin Plan) for the Santa Ana
River Basin (2011), availabie at
http://www.swrcb.ca.gov/rwqcb8/water_issues/programs/basin_plan/index.shtml.

27. The beneficial uses of these waters include, among others, municipal and

domestic supply, agricultural supply, groundwater recharge, water contact recreation,

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l non-contact water recreation, warm freshwater habitat, cold freshwater habitat, and

2| wildlife habitat. The non-contact water recreation use is defined as “Tulses of water

for recreational activities involving proximity to water, but not normally involving

s | contact with water where water ingestion is reasonably possible.” Id. at 3-3. These

6 | uses include, but are not limited to, picnicking, sunbathing, hiking, beachcombing,

camping, boating, tidepool and marine life study, hunting, sightseeing, or aesthetic

9] enjoyment in conjunction with the above activities.” Id. Contact recreation use
‘ includes fishing and wading. Id. at 3-2. Visible pollution, including visible sheens
12, | and cloudy or muddy water from industrial areas, impairs people’s use of the Santa
13) Ana River for contact and non-contact water recreation.
. 28, The Basin Plan includes a narrative toxicity standard which states that
16 | “[t]oxic substances shall not be discharged at levels that will bioaccumulate in aquatic
u resources fo levels which are harmful to human health.” Id. at 4-18. The Basin Plan
18
19 | includes a narrative oil and grease standard which states that “[w]aste discharges shall
20 not result in deposition of oil, grease, wax, or other material in concentrations which
. result in a visible film or in coating objects in the water, or which cause a nuisance or
23 | adversely affect beneficial uses.” Id. at 4-15, The Basin Plan includes a narrative
24 suspended and settleable solids standard which states that “waters shall not contain
25
46 | Suspended or settleable solids in amounts which cause a nuisance or adversely affect
271 beneficial uses ....” Id. at 4-16. The Basin Plan includes a narrative floatables
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standard which states that “[w]Jaste discharges shall not contain floating materials,
including solids, liquids, foam or scum, which cause a nuisance or adversely affect
beneficial uses.” Id. at 4-11. The Basin Plan includes a narrative color standard
which states that “[w]aste discharges shall not result in coloration of the recetving
waters which causes a nuisance or adversely affect beneficial uses.” Id. at 4-10. The
Basin Plan includes a narrative turbidity standard which states that “inland surface
waters... shall be free of changes in turbidity which adversely affect beneficial uses.
Id. at 4-18. The Basin Plan provides that “the pH of inland surface waters shall not be
raised above 8,5 or depressed below 6.5...” Id, at 4-15. The Basin Plan also includes
a Nitrate standard of 10 mg/L as Nitrogen. Id. at 4-14.

29. The Basin Plan also sets out additional numeric water quality standards
for the Upper Santa Ana River, which the Facility’s discharge flows through. In
particular, the Basin Plan sets a numeric water quality objective of 10 mg/L for total
inorganic nitrogen. Id. at 4-35.

30. The EPA has published benchmark levels as guidelines for determining
whether a facility discharging industrial storm water has implemented the requisite
best available technology economically achievable (hereinafter “BAT”) and best
conventional pollutant control technology (hereinafter “BCT”). The following
benchmarks have been established for pollutants discharged by PRAXAIR: Total

Suspended Solids (TSS}— 100 mg/L, oil and grease — 15.0 mg/L (“O&G”), pH — 6-9

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s.u., Iron (Fe) — 1.0 mg/L, nitrate + nitrite as nitrogen (“N+N”) — 0.68 mg/L, and
Aluminum (Al) — 0.75 mg/L. U.S. Environmental Protection Agency, Multi-Sector
General Permit for Stormwater Discharges Associated with Industrial Activity (2009)
52 (hereinafter “MSGP”).

31, Section 505(a)(1) and Section 505(f) of the Act provide for citizen
enforcement actions against any “person,” including individuals, corporations, or
partnerships, for violations of NPDES permit requirements. 33 U.S.C. §§1365(a)(1)
and (f), § 1362(5). An action for injunctive relief under the Act is authorized by 33
U.S.C. § 1365(a). Violators of the Act are also subject to an assessment of civil
penalties of up to $32,500 per day per violation for all violations occurring through
January 12, 2009, and $37,500 per day per violation for all violations occurring after
January 12, 2009, pursuant to Sections 309(d) and 505 of the Act, 33 U.S.C. $§
1319(d), 1365. See also 40 CFR. §§ 19.1 - 19.4.

Vv. STATEMENT OF FACTS

32. Inits NOI, PRAXAIR certified that the Facility is classified under SIC
Code 2813 Cndustrial Inorganic Chemicals). PRAXAIR is an industrial gases
company, supplying atmospheric, process, and specialty gases, as well as, high-
performance coatings and related services. On information and belief, CCAEJ alleges
that the Facility collects and discharges storm water from its industrial site into four or

more storm drain outfalls located at the Facility. The outfalls discharge into the

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County of San Bernardino’s municipal storm sewer system, which flow into Etiwanda
Creek which flow into the Santa Ana River.

33. On information and belief, Plaintiff alleges that the management
practices at the Facility do not prevent the sources of contamination described above
from causing the discharge of pollutants to waters of the United States.

34. Since at least October 14, 2009, PRAXAIR has taken samples or
atranged for samples to be taken of storm water discharges at the Facility. The
sample results were reported in the Facility’s annual reports submitted to the Regional
Board. PRAXAIR certified each of those annual reports pursuant to Sections A and C
of the General Permit.

35. Since at least October 14, 2009, the Facility has detected pH, TSS, iron,
aluminum, and N+N in storm water discharged from the Facility. Levels of pH
detected in the storm water have been outside of the parameters for water quality
standards in violation of the Basin Plan. Levels of these pollutants detected in the
Facility’s storm water have been in excess of BPA’s numeric parameter benchmark
values.

36. The following discharges on the following dates contained
concentrations of pollutants in excess of the numeric water quality standards

established in the Basin Plan:

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1 Outfall
Basin Plan or (as
2 Date Parameter Concnnteation EPA Water identified
3 Quality Standard | __ by the
Facility)
4
5 12/13/2012 pH 9.5 s.u. 6.5-8.5 s.u. ONT-D4
6 .
pH 8.6 S.u. 6.5-8.5 s.u. .
7 3/18/2012 ONT-D2
8
pH 6.3 s.u. 6.5-8.5 s.u.
9 10/5/2011 ONT-D3
10
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12 | The information in the above table reflects data gathered from PRAXAIR’s self-

monitoring during the 2011-2012 and 2012-2013 wet seasons.

15 37. Discharges on the following dates from the Facility contained
concentrations of pollutants in excess of the numeric EPA water quality benchmarks:
18 | February 19, 2013, December 13, 2012, March 18, 2012, October 5, 2011, December
19 | 19,2010, December 5, 2010, December 7, 2009, and October 14, 2009 for pH, TSS,

iron, aluminum, and N+N. The information reflects data gathered from PRAXAIR’s

22 || self-monitoring during the 2009-2010, 2010-2011, 2011-2012, and 2012-2013 wet

seasons,

25 38. The level of TSS in storm water detected by the Facility has exceeded the

26 | benchmark value for TSS of 100 mg/L established by EPA. For example, on

February 19, 2013, 980 mg/L was measured in outtfail location ONT-D2.

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39. The level of iron in storm water detected by the Facility has exceeded the
benchmark value of 1.0 mg/L established by EPA. For example, on February 19,
2013, 10.0 mg/L was measured in outfall location ONT-D3.

40. The level of aluminum in storm water detected by the Facility has
exceeded the benchmark value of 1.0 mg/L established by EPA. For example, on
February 19, 2013, 11.0 mg/L was measured in outfall location ONT-D4.

41. The level of N+N in storm water detected by the Facility has exceeded
the benchmark value of 0.68 mg/L established by EPA. For example, on March 18,
2012, 8.2 mg/L was measured in outfall location ONT-D2.

42. On information and belief, Plaintiff further alleges that PRAXAIR did
not sample discharges from all three outfalls during 2010-2011, failing to sample
outfalls D1, D2 and D3.

43. On information and belief, Plamntiff further alleges that PRAXAIR did
not conduct visual observations in January 2010, March 2010, January 2011, February
2011 and January to March 2013, claiming that there were no qualifying rain events
when in fact there were numerous such events during these periods.

44, On information and belief, Plaintiff further alleges that PRAXAIR did
not analyze for N+N during the 2009-2010 wet season.

45. On information and belief, Plaintiff alleges that since at least May 22,

2009, Defendants have not implemented BAT and BCT at the Facility for discharges

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of pH, TSS, iron, aluminum, N+N and other pollutants. Section B(3) of the General
Permit requires that Defendants implement BAT for toxic and nonconventional
pollutants and BCT for conventional pollutants by no later than October 1, 1992. As
of the date of this Complaint, the Facility has not implemented BAT and BCT.

46. On information and belief, Plaintiff alleges that since at least May 22,
2009, Defendants did not implement an adequate Storm Water Pollution Prevention
Plan for the Facility. Plaintiff is informed and believes, and thereupon alleges, that the
SWPPP prepared for the Facility does not set forth site-specific best management
practices for the Facility that are consistent with BAT or BCT for the Facility.
Plaintiff is informed and believes, and thereupon alleges, that the SWPPP prepared for
the Facility does not include an adequate assessment of potential pollutant sources,
structural pollutant control measures employed, a list of actual and potential areas of
pollutant contact, or an adequate description of best management practices to be
implemented at the Facility to reduce pollutant discharges. Plaintiffis informed and
believes, and thereupon alleges, that the SWPPP does not include each of the
mandatory elements required by Section A of the General Permit.

47. Information available to Plaintiff indicates that as a result of these
practices, storm water containing excessive pollutants is being discharged during rain
events from the Facility directly to the County of San Bernardino storm drain system,

which discharges to the Etiwanda Creek and Santa Ana River.

COMPLAINT
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t 48. Plaintiff is informed and believes that Defendants did not submit to the

2| Regional Board, since at least May 22, 2009, an annual report, that is signed and

certified by the appropriate corporate officer, outlining the Facility’s storm water

5} controls and accurately certifying compliance with the General Permit Pursuant to

6) Sections A(9)(d), B(14), and C(9), (10) of the General Permit.

49. Information available to Plaintiff indicates that Defendants have not

9 | fulfilled the requirements set forth in the General Permit for discharges from the
Facility due to the continued discharge of contaminated storm water. Plaintiff is
12, | informed and believes, and thereupon alleges, that all of the violations alleged in this
13 Complaint are ongoing and continuing.
. CLAIMS FOR RELIEF
16 FIRST CAUSE OF ACTION
" Best Cepventional Treatment Technologies
18 (Violations of Permit Conditions and the Act, 33 U.S.C. §§ 1311, 1342)
19 50. Plaintiff re-alleges and incorporates all of the preceding paragraphs as if
fully set forth herein.
2 51. The General Permit’s SWPPP requirements and Effluent Limitation B(3)
23 | require dischargers to reduce or prevent pollutants in their storm water discharges
through implementation of BAT for toxic and nonconventional pollutants and BCT
26 | for conventional pollutants. Defendants have not implemented BAT and BCT at the
a Facility for discharges of pH, TSS, iron, aluminum, N+N and other pollutants in
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violation of Effluent Limitation B(3) of the General Permit.

52. Each day, since May 22, 2009, that Defendants did not develop and
implement BAT and BCT in violation of the General Permit is a separate and distinct
violation of the General Permit and Section 301(a) of the Act, 33 U.S.C. § 1311 (a).

53. Defendants have not complied with the BAT/BCT requirements every day
since May 22, 2009. Defendants continue to not comply with the BAT/BCT
requirements each day that they fail to develop and fully implement BAT/BCT at the
Facility.

SECOND CAUSE OF ACTION
Discharges of Contaminated Storm Water
in Violation of Permit Conditions and the Act
(Violations of 33 U.S.C. §§ 1311, 1342)

54. Plaintiffre-alleges and incorporates all of the preceding paragraphs as if
fully set forth herein.

55. Discharge Prohibition A(2) of the General Permit requires that storm water
discharges and authorized non-storm water discharges shall not cause or threaten to
cause pollution, contamination, or nuisance. Receiving Water Limitations C(1) and
C(2) of the General Permit require that storm water discharges and authorized non-
storm water discharges shall not adversely impact human health or the environment,
and shall not cause or contribute to a violation of any water quality standards contained
in a Statewide Water Quality Control Plan or the applicable Regional Board’s Basin

Plan.

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56. Plaintiff is informed and believes, and thereupon alleges, that since at least
May 22, 2009, Defendants have discharged polluted storm water from the Facility in
excess of applicable water quality standards in violation of the Discharge Prohibition
A(2) of the General Permit.

57. Plaintiff is informed and believes, and thereupon alleges, that these
discharges of contaminated storm water are causing or contributing to the violation of
the applicable water quality standards in a Statewide Water Quality Control Plan and/or
the applicable Regional Board’s Basin Plan in violation of Receiving Water Limitation
C(2) of the General Permit.

58.  Plaintiffis informed and believes, and thereupon alleges, that these
discharges of contaminated storm water are adversely affecting human health and the
environment in violation of Receiving Water Limitation C(1) of the General Permit.

59. Every day, since at least May 22, 2009, that Defendants have discharged
and continue to discharge polluted storm water from the Facility in violation of the
General Permit is a separate and distinct violation of Section 301 (a) of the Act, 33
U.S.C. § 1311(a). These violations are ongoing and continuous.

THIRD CAUSE OF ACTION
Prepare, Implement, Review, and Update
an Adequate Storm Wafer Pollution Prevention Pian
(Violations of Permit Conditions and the Act, 33 U.S.C. §§ 1311, 1342)

60. Plaintiff re-alleges and incorporates all of the preceding paragraphs as if

fully set forth herein.

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61. Section A and Provision E of the General Permit requires dischargers of
storm water associated with industrial activity to develop and implement an adequate
SWPPP no later than October 1, 1992.

62. Defendants have not developed and implemented an adequate SWPPP
for the Facility.

63. Each day since May 22, 2009, that Defendants do not develop, implement
and update an adequate SWPPP for the Facility is a separate and distinct violation of
the General Permit and Section 301(a) of the Act, 33 U.S.C, § 1311 (a).

64. Defendants have been in violation of the SWPPP requirements every day
since May 22, 2009. Violation continues each day that an adequate SWPPP for the
Facility is not developed and fully implemented.

FOURTH CAUSE OF ACTION
Develop and implement an
Adequate Monitoring and Reporting Program

(Violation of Permit Conditions and the Act, 33 U.S.C. §§ 1311, 1342)

65. Plaintiff re-alleges and incorporates all of the preceding paragraphs as if
fully set forth herein.

66. Section B of the General Permit requires dischargers of storm water
associated with industrial activity to have developed and be implementing a
monitoring and reporting program (including, inter alia, sampling and analysis of
discharges) no later than October 1, 1992.

67. Defendants have not developed and implemented an adequate monitoring

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and reporting program for the Facility. Defendants’ ongoing lack of an adequate
monitoring and reporting program is evidenced by, inter alia, the Facility’s failure to
sample discharges from all three outfalls during 2010-2011 (failing to sample outfalls
D1, D2 and D3); to conduct visual observations in January 2010, March 2010,
January 2011, February 2011 and January to March 2013 (claiming that there were no
qualifying rain events when in fact there were numerous such events during these
periods) and to analyze for N+N during the 2009-2010 wet season.

68. Each day since May 22, 2009, that Defendants did not develop and
implement an adequate monitoring and reporting program for the Facility in violation
of the General Permit is a separate and distinct violation of the General Permit and
Section 301(a) of the Act, 33 U.S.C. § 1311{a). The absence of requisite monitoring
and analytical results are ongoing and continuous.

FIFTH CAUSE OF ACTION
Certification of Compliance in Annual Report

(Violations of Permit Conditions and the Act, 33 U.S.C. §§ 1311, 1342)

69. Plaintiff re-alleges and mcorporates all of the preceding paragraphs as if
fully set forth herein.

70. Defendants have not accurately certified compliance with the General
Permit in each of the annual reports submitted to the Regional Board since at least
May 22, 2009.

71. Each day since at least May 22, 2009, that Defendants do not accurately

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certify compliance with the General Permit is a separate and distinct violation of the
General Permit and Section 301(a) of the Act, 33 U.S.C. § 1311(a). Defendants
continue to be in violation of the General Permit’s certification requirement each day
they maintain an inaccurate certification of its compliance with the General Permit.

RELIEF REQUESTED

Wherefore, Plaintiff respectfully requests that this Court grant the following
relief:

a. Declare Defendants to have violated and to be in violation of the Act as
alleged herein;

b. Enjoin Defendants from discharging polluted storm water from the
Facility unless authorized by the Permit;

c. Enjoin Defendants from further violating the substantive and
procedural requirements of the Permit;

d. Order Defendants to immediately implement storm water pollution
control and treatment technologies and measures that are equivalent to BAT or BCT
and prevent pollutants in the Facility’s storm water from contributing to violations of
any water quality standards;

e. Order Defendants to comply with the Permit’s monitoring and
reporting requirements, including ordering supplemental monitoring to compensate for

past monitoring violations;

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f. Order Defendants to prepare a SWPPP consistent with the Permit’s
requirements and implement procedures to regularly review and update the SWPPP;

g. Order Defendants to provide Plaintiff with reports documenting the
quality and quantity of their discharges to waters of the United States and their efforts
to comply with the Act and the Court’s orders;

h. Order Defendants to pay civil penalties of $37,500 per day per
violation for all violations pursuant to Sections 309(d) and 505(a) of the Act, 33 U.S.C.
§§ 1319(d), 1365(a) and 40 C.F.R. §§ 19.1 - 19.4;

i. Order Defendants to take appropriate actions to restore the quality of
waters impaired or adversely affected by their activities;

j. Award Plaintiff's costs (including reasonable investigative, attorney,
witness, compliance oversight, and consultant fees) as authorized by the Act, 33 U.S.C.
§ 1365(d); and,

k. Award any such other and further relief, as this Court may deem
appropriate.

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Dated: I LL oo Respectfily stibmitted,

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Gideon Kracov ©
Attorneys for Plaintiff

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EXHIBIT A
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Bax: (218) 623-7755 www. pideonlaw.net
May 22, 2014

VIA CERTIFIED MAIL, RETURN RECEIPT REQUESTED

Praxiir, Inc.

Steven F, Angel, CEO

c/o Corporation Service Company — Lawyers Incorporating Service
Agent for Service of Process

2710 Gateway Oaks Dr., Ste 150N

Sacramento, CA 95833

Praxair, Inc,

Roger Han, Facility Manager
5705 E, Airport Dr.

Ontario, CA 91761

Praxair, Inc.

Cindi Hughes, Enviro. Compliance Mer
39 Old Ridgebury Rd

Danbury, CT 06810

Praxair, Inc.

Steven F, Angel, CEO
39 Old Ridgebury Rd
Danbury, CT 06810

RE: Notice Of Violations And Intent To File Suit Under The Federal Water
Pollution Control Act Concerning Praxair Inc., 5705 E Airport Dr., Ontario,
California, WDID Na. 8 361001015

Dear Mr. Angel, Mr. Han, and Ms. Hughes,

The Law Office of Gideon Kracov (hereinafter “Office”) on behalf of the Center for
Community Action and Environmental Justice (hereinafter “CCAEJ”) is contacting you
concerning Clean Water Act (hereinafter “CWA” or “Act”) violations at Praxair Inc.’s facility at

_5705 E. Airport Dr. Ontario, California (hereinafter “Facility”). ‘This letter is being sent to you,

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Praxair Inc. Clean Water Act Notice of Violations & Intent to File Suit
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Praxair Inc., Roger Han, Steven Angel and Cindi Hughes, as the responsible owners, officers, or
operators of the Facility (collectively hereinafter “Praxair’’).

CCAE] is a non-profit public benefit corporation dedicated to working with communities
to advocate for environmental justice and pollution prevention. CCAE has members living in
the comraunity adjacent to the Facility and the Santa Ana River Watershed. CCAEJ and its
members are deeply concermed with protecting the environment in and around their communitics,
including the Santa Ana River Watershed.

This letter addresses Praxair unlawful discharge of pollutants from the Facility through
the municipal storm sewer system into Etiwanda Creek and then into the Santa Ana River. The
Facility is discharging storm water pursuant to National Pollutant Discharge EHmination System
(hereinafter “NPDES”) Permit No. CA 8000001, California State Water Resources Control
Board (hereinafter “State Board”) Order No. 92-12-DWQ as amended by Order No. 97-03-
DWO (hereinafter “General Permit”).' The WDID identification number for the Facility listed
on documents submitted to the California Regional Water Quality Control Board, Santa Ana
Region (“Regional Board”) is 8 361001015. The Facility is engaged in ongoing violations of the
substantive and procedural requirements of the General Permit,

Section 505(b) of the CWA requires a citizen to give notice of intent to file suit sixty (60)
days prior to the initiation of a civil action under Section 505(a) of the Act (33 U.S.C. § 1365{a)).
Notice must be given to the alleged violator, the U.S. Environmental Protection Agency
(hereinafter “EPA”), and the State in which the violations occur.

As required by the Act, this Notice of Violation and Intent to File Suit provides notice of
the violations that have occurred, and continue to occur, at the Facility. Consequently, Praxair is
hereby placed on formal notice by CCAE] that, after the expiration of sixty days from the date of
this Notice of Violations and Intent to Sue, CCAE]J intends to file suit in federal court against
Praxair under Section 505(a) of the Clean Water Act (33 U.S.C. § 1365(a)), for violations of the
CWA and General Permit. These violations are described more extensively below.

I. BACKGROUND.

Praxair filed a Notice of Intent to Comply With the Terms of the General Permit to
Discharge Storm Water Associated with Industrial Activity (hereinafter “NOI”) and that NOI

1On April 1, 2014, the State Board reissued the General Permit, continuing its mandate that
industrial facilities implement the best available technology economically achievable CBAT”)
and best conventional polhutant control technology (“BCT”) and, in addition, establishing
numeric action. levels mandating additional pollution control efforts. State Board Order 2014-
0057-DWQ. The new permit, however, does not go into effect until July 1, 2015. Until that
time, the current General Permit remains in full force and effect.

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Praxair Inc.— Clean Water Act Notice of Violations & Intent to File Suit

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(undated) can be viewed on the State of California’s State Water Resources Control Board
website. The State Water Resources Control Board received the NOI on or before March 23,
1992. In its NOL, Praxair certified that the Facility is classified under SIC Code 2813 (Industrial
Inorganic Chemicals). Praxair is an industrial gases company, supplying atmospheric, process,
and specialty gases, as well as, high-performance coatings and related services. On information
and belief, CCAEI alleges that the Facility collects and discharges storm water from its industrial
site into four or more storm drain outfalls located at the Facility. The outfails dischatge into the
County’s municipal storm sewer system, which flow into Ettwanda Creek which flow into the

Santa Ana River.

The Regional Board has identified beneficial uses of the Santa Ana River Watershed and
established water quality standards for the river and its tributaries in “The Water Quality Control
Plan (Basin Plan) for the Santa Ana River Basin” (hereinafter “Basin Plan”). See California
Regional Water Quality Control Board, Santa Ana Region, The Water Quality Control Plan
(Basin Plan) for the Santa Ana River Basin (2011), available at http://www.swrceb.ca.gov/
rwqcb$/water_issues/programs/basin_plan/index.shtml.

The beneficial uses of these waters include, among others, municipal and domestic
supply, agricultural supply, groundwater recharge, water contact recreation, non-contact water
recreation, warm freshwater habitat, cold freshwater habitat, and wildlife habitat. The non-
contact water recreation use is defined as “[u]ses of water for recreational activities involving
proximity to water, but not normally involving contact with watcr where water ingestion is
reasonably possible.” id. at 3-3. These uses include, but are not limited to, picnicking,
sunbathing, hiking, beachcombing, camping, boating, tidepool and marine life study, hunting,
sightseeing, or aesthetic enjoyment in conjunction with the above activities.” /d. Contact
recreation use includes fishing and wading. Jd. at 3-2. Visible pollution, including visible
sheens and cloudy or muddy water from industrial areas, impairs people’s use of the Santa Ana
River for contact and non-contact water recreation.

The Basin Plan includes a narrative toxicity standard which states that “[t]oxic substances
shall not be discharged at levels that will bioaccumulate in aquatic resources to levels which are
harmful to human health.” Jd at 4-18. The Basin Plan includes a narrative oil and prease
standard which states that “[w]aste discharges shall not result im deposition of oil, grease, wax, or
other material in concentrations which result in a visible film or in coating objects in the water,
or which cause a nuisance or adversely affect beneficial uses.” Jd at 4-15, The Basin Plan
includes a narrative suspended and settleable solids standard which states that “waters shall not
contain suspended or settleable solids in amounts which cause a nuisance or adversely aifect
beneficial uses... .° Jd al 4-16. The Basin Plan includes a narrative floatables standard which
states that “[w]aste discharges shall not contain floating materials, including solids, liquids, foam
or scum, which cause a nuisance or adversely affect beneficial uses,” fd at 4-11. The Basin

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Plan includes a narrative color standard which states that “[wlaste discharges shall not result in
coloration of the receiving waters which causes a nuisance or adversely affect beneficial uses.”
Id. at 4-16. The Basin Plan includes a narrative turbidity standard which states that “inland
surface waters... shall be free of changes in turbidity which adversely affect beneficial uses. Jd.
at 4-18. ‘he Basin Plan provides that “the pH of inland surface waters shall not be raised above
8.5 or depressed below 6.5...” Jd. at 4-15. The Basin Plan also includes a Nitrate standard of 10
mg/L as Nitrogen. Jd. at 4-14.

The Basin Plan also sets out additional numeric water quality standards for the Upper
Santa Ana River, which the Facility’s discharge flows through. In particular, the Basin Plan sets
a numeric water quality objective of 10 mg/L for total inorganic nitrogen. id. at 4-35.

The EPA has published benchmark levels as guidelines for determining whether a facility
discharging industrial storm water has implemented the requisite best available technology
economically achievable (hereinafter “BAT”) and best conventional pollutant control technology
(hereinafter “BCT”). The following benchmarks have been established for pollutants discharged
by Praxair: Lotal Suspended Solids (TSS) ~ 100 mg/L, oil and grease — 15.0 mg/L (“O&G”),
pH — 6-9 s.u., Iron (Fe) -- 1.0 mg/L, nitrate + nitrite as nitrogen (““N+N”) — 0.68 mg/L, and
Aluminum (Al — 0.75 mp/L.? U.S. Environmental Protection Agency, Multi-Sector General
Permit for Stormwater Discharges Associated with Industrial Activity (2009) 52.

I. ALLEGED VIOLATIONS OF ‘THE NPDES PERMIT.

a. Discharges In Violation Of The Permit Not Subjected To BAT/BCT.

Praxair has violated and continues to violate the terms and conditions of the General
Permit. Section 402(p) of the Act prohibits the discharge of storm water associated with
industrial activities, except as permitted under an NPDES permit (33 U.S.C. § 1342) such as the
General Permit. The General Permit prohibits any discharges of storm water associated with
industrial activities or authorized non-storm water discharges that have not been subjected to
BAT or BCT. Efffuent Limitation B(3) of the General Permit requires dischargers to reduce or
prevent pollutants in their storm water discharges through implementation of BAT for toxic and
nonconventional pollutants and BCT for conventional pollutants. BAT and BCT include both
nonstructural and structural measures. General Permit, Section A(8), Conventional pollutants
ate Total Suspended Solids, Oil and Grease, pH, Biochemical Oxygen Demand, and Fecal
Coliform, 40 C.F.R. § 401.16. All other pollutants are either toxic or nonconventional. Jd. $§
401.15, 401.16.

In addition, Discharge Prohibition A(1) of the General Permit prohibits the discharge of
materials other than storm water (defined as non-slorm water discharges) that discharge either

"Td.

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directly or indirectly to waters of the United States. Discharge Prohibition A(2) of the General
Permit prohibits storm water discharges and authorized non-stonn water discharges that cause or
threaten to cause pollution, contamination, or nuisance.

Receiving Water Limitation C(1) of the General Permit prohibits storm water discharges
and authorized non-storm water discharges to surface or groundwater that adversely impact
human health or the environment. Receiving Water Limitation CQ) of the General Permit also
prohibits storm water discharges and authorized non-storm water discharges that cause or
contribute to an exceedance of any applicable water quality standards contained in a Statewide
Water Quality Control Plan ox the applicable Regional Board’s Basin Plan. The General Permit
does not authorize the application of any mixing zones for complying with Receiving Water
Limitation C(2), Asa result, compliance with this provision is measured at the Facility’s
discharge monitoring locations.

Praxair has discharged and continues to discharge storm water with unacceptable levels
of TSS, pH, Iron, Aluminum, N+N and other pollutants in violation of the General Permit.
Praxair’s sampling and analysis results reported to the Regional Board confirm discharges of
specific pollutants and materials other than storm water in violation of the Permit provisions
listed above. Self-monitoring reports under the Permit are deemed “conclusive evidence of an
exceedance of a permit limitation.” Sierra Club v. Union Oil, 813 F.2d 1480, 1493 (9th Cir.
1988).

The following discharges of pollutants from the Facility contained concentrations of
pollutants in excess of numeric water quality standards established in the Basin Plan, evidencing
past and ongoing violations of General Fermit Discharge Prohibitions A(1) and A(2), Effluent
Limitation B(3) and Receiving Water Limitations C(1} and C(2).

Observed Basin Plan or EPA Outfali (as
Date Parameter Concentration Water Quality identified by
" Standard the Facility)
12/13/2012 pH 9,5 su. 6.5-8.5 5.u. ONT-D4
pH 8.6 $.u, 6.5-8.5 s.u.
3/18/2012 ONT-D2
pH 6.3 Su. 6.5-8.5 s.u.
16/5/2611 ONT-D3

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The information in the above table reflects data gathered from Praxair self-monitoring
during the 2011-2012 and 2012-2013 wet seasons. CCAEJ alleges that during each of these wet
seasons and continuing through today, Praxair has discharged storm water contaminated with
pollutants at levels or observations that exceed or violate the applicable water quality standard of
6.5 — 8.5 s.u, for pH in the Basin Plan.

The following discharges of poliutants from the Facility contained concentrations of
pollutants in excess of numeric water quality benchmarks established by EPA in the MGSP
(“EPA Benchmarks”), evidencing past and ongoing violations of General Permit Discharge
Prohibitions A(1) and A(2), Effluent Limitation B(3) and Receiving Water Limitations C(1} and

C(2).
Location
(as
Observed EPA . oo
Date Parameter Concentration | Benchmarks identified
by the
Facility)
12/13/2012 pH $.5 3.0. 6-9 5.U. ONT-D4
2/19/2013 TSS 180 mg/L 100 mg/L ONT-D1
2/19/2013 TSS. 980 me/L 100 mg/L ONT-D2
2/19/2013 TSS 380 mg/L 100 mg/L ONT-D3
12/13/2012 TSS 110 mp/L 100 me/L ONT-D3
12/13/2012 TSS 320 mg/L 100 mg/L ONT-D4
10/14/2009 | TSS 120 mg/L 100 mg/L ONT D-2
2/19/2013 Tron 3.3 mg/L 1.0 mg/L ONT-D1
2/19/2013 Iron 33 mg/L 1.0 mg/L. ONT-D2
2/19/2013 | Iron 10 mg/L 1.0 mg/L ONT-D3
2/19/2013 Iron 1.6 mg/L. 1.0 mg/L ONT-D4
12/13/2012. Tron 1.4 mp/L 1.0 mg/L ONT-D1
12/13/2012 ~ Tron 10 me/L 1.0 mg/L ONT-D2 |
12/13/2012 fron - 8.8 mg/L 1.0 mg/L ONT-D3
12/13/2012 | Tron 9.6 mep/L 1.0 mg/L ONT-D4
3/18/2012 Tron 1.4 mg/L 1.0 mg/L ONT-DI

3/18/2012 Tron 1.2 mg/L 10mg | ONT-D2
3/18/2012 ~ ‘Tron 2.4 mg/L 1.0 mg/L ONT-D4
10/5/2011 Iron 2.6 mg/L? 1.0 mg/L ONT-D1
10/5/2011 Trott 3.4 me/I. 1.0 mg/L ONT-D2

3 A June 27, 2013 letter from Praxair to the Regional Board indicates that these 2011-2012 wet year metals results
were initially misrcported as mg/L instead of ug/L.
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Praxair Inc— Clean Water Act Notice of Violations & Intent to File Suit

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10/5/2011 Tron 1.4 mp/L 1.0 mg/L ONT-D3
12/5/2010 Tron 1.9 mg/L 1.0mg/L | ONT-D1
~ 12/5/2010 fron 5.8 mg/L 1.0 mg/L ONT-D2
12/5/2010 | Iron Lsme/L | 1.0 mp/l. ONT-D3
12/5/2010 Iron 1.2 mg/L. 1.0 mg/L ONT-D4
~ 10/14/2009 Iron 3300 mg/L 1.0 mg/L ONT D-1
10/14/2009 Iron 3700 mg/L. 1.0 mg/L. ONT D-2
10/14/2009 iron 2200 mg/L 1.0 mg/L ONT D-3
10/14/2009 Tron 540 mg/L. 1.0 me/L ONT D-4
12/7/2009 Iron 1700 mg/L 1.0 mg/L ONT D-1
12/7/2009 Tron 3100 mg/L 1.0 mg/L ONT D-2
12/7/2009 Tron 1400 mg/L 1.0 mg/L ONT D-3
12/7/2009 tron 1800 mg/L 1.0 mg/L ONT D-4
10/14/2009 - Aluminum 2900 mg/L .75 mg/L ONT D-1
10/14/2009 Afuminuin 3500 mg/L 75 mg/L ONT D-2
10/14/2009 Atuminum 1900 mg/L .75 mg/L ONT B-3
10/14/2009 Aluminum 4400 mg/L. 75 mg/L ONT D-3
12/7/2009 Aluminum 1400 mg/L 75 mg/L ONT D-t
12/7/2009 Aluminum 1900 mg/L. 75 mg/L ONT D-2
12/7/2009 Aluminum [100 mg/L 75 mp/L ONT D-3
12/7/2009 Aluminmm 1500 mg/L 75 mel ONT D-4
2/19/2013 Aluminum 2.5 me/L 0.75 mg/L ONT-D1
2/19/2013 Aluminum 21 mg/L 0.75 mg/L ONT-D2
2/19/2013 Aluminum 7.3 mg/L 0.75 mg/L ONT-D3
2/19/2013, | Aluminum 1.1 mg/L 0.75 mp/L. ONT-D4
12/13/2012 Aluminum. 1.2 mg/L 0.75 mg/L ONT-DI
12/13/2012 Aluminum 9.9 mg/L 0.75 mg/L ONT-D2
12/13/2012 Aluminum 7.5 mg/L 0.75 mg/L ONT-D3
12/13/2012 Aluminum il mg/L 0.75 mg/L ONT-D4
3/18/2012 Aluminum 1.1 mg/L 0.75 mg/L ONT-D1
3/18/2012 Aluminum Ll me/L 0.75 mg/L ONT-D2
3/18/2012 Aluminum L.6mg/L 0.75 ma/L ONT-D3
3/18/2012 Aluminum. 1.6 mg/L 0,75 mg/L ONT-D4
10/5/2011 Aluminum 2.1 mg/L. 0.75 mg/L ONT-D1
10/5/2011 Aluminum 2.9 mg/L. 0,75 mg/l. ONT-D2
10/5/2011 Ahminum 1.1 mg/L 0.75 mg/L ONT-D3
12/19/2010 Alumin 0.80 mg/L 0.75 mg/L ONT-D2
12/5/2010 Aluminum 0.88 mg/L 0.75 mg/L | ONT-DI |

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12/5/2010 Aluminum — 43 mg/L 0.75 mg/L ONT-D2
| 12/5/2010 Aluminum 1.2 me/L 0.75 mg/L ONT-D3
12/5/2010 Aluminum 0.98 mg/L 0.75 mg/L ONT-D4
2/19/2013 N+N 4.3 mp/L 0.68 mg/L ONT-D2
21972013 |” N+N 1.4 mg/L 0.68 mg/L ONT-D4
12/13/2012 NN 1.52 mg/L 0.68 mg/L ONT-D1
12/13/2012 NEN 1.65 mg/L 0.68 mg/L. ONT-D2
3/18/2012 N+N 1.9 mg/L. 0.68 mg/L ONT-DI
3/18/2012 NIN 5.1 mg/L 0.68 mg/L ONT-D2
3/18/2012 NSN 7.3 mg/L 0.68 mg/L ONT-D3
3/18/2042 N+N 8.2 mg/L 0.68 mp/L ONT-D4
10/5/2011 NiN 143 mg/ | 0.68 mg/L ONT-D1
10/5/2011 N+N 1.24 mg/L 0.68 mg/L ONT-D2
| 10/5/2041 NeN 1.8 mg/L 0.68 mg/L ONT-D3
10/5/2011 N+N 0.95 mg/L 0.68 mg/L. ONT-D4
12/19/2010 N+N 0.77 mg/L 0.68 mg/L ONT-D4
12/5/2010 NEN 1.41 mg/L 0.68 mg/L ONEDI |
12/5/2010 N+N 1.74 mg/L 0.68 mg/L ONT-D2
12/5/2016 N+N 1.1 mg/L 0.68 mg/L ONT-D3
12/5/2010 NN 1 mg/L 0.68 mg/L ONT-D4
10/14/2009 NIN 1.4 mg/L 0.68 mg/L ONT-D1
10/14/2009 NtN 3.7 mg/L 0.68 mg/L ONT-D2
10/14/2009 NIN 2 mg/L 0.68 mg/L ONT-D3
(0/14/2009 NaN 2,6 mg/L 0.68 mg/L ONT-D4 _
/ 12/7/2009 N-+N 1.6 mg/L ~ 0.68 mg/L ONT-D2
12/7/2009 N=N 1.9 mg/L 0.68 mg/L ONT-D3
(2/7/2009 NN 81 mg/L 0.68 mg/L ONT-D4

The information in the above table reflects data gathered from Praxair self-monitoring
during the 2009-2010, 2010-2011, 2011-2012 and 2012-2013 wet seasons. CCAF] alleges that
during each of those rainy seasons and continuing through today, Praxair has discharged storm
water contaminated with pollutants that exceed one ot more applicable EPA Benchmarks,
including, but not limited to, each of the following:

° ‘Total Suspended Solids — 100 mg/L;

* pH — 6-9 su;

° Tron — 1.0 mg/L;

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e Aluminum — 0.75 mg/L; and
* N+N — 0.68 mg/L.

CCAEI’s investigation, including its review of Praxair analytical results documenting
polhitant levels in the Facility’s storm water discharges well in excess of applicable water quality
standards and the EPA’s benchmark values, indicate that Praxair has not implemented BAT and
BCT at the facility for its discharges of TSS, pIJ, Iron, NHN, Aluminum and other pollutants in
violation of Effluent Limitation B(3) of the General Permit. Praxair was required to have
implemented BAT and BCT by no later than October 1, 1992, or since the date the Facility
opened. Thus, Praxair is discharging polluted storm water associated with its industrial
operations without having implemented BAT and BCT.

In addition, the numbers listed in the table above indicate that the Facility is discharging
polluted storm water in violation of Discharge Prohibitions A(i) and A@) and Receiving Water
Limitations C(1) and C(2) of the General Permit. CCAET alleges that such violations also have
occurred and will occur on other rain dates, including every significant rain event that has
occurted since at least May 22, 2009 and that will occur at the Facility subsequent to the date of
this Notice of Violation and Intent to File Suit. Attachment A, attached hereto, sets forth each of
the specific rain dates on which CCAE] alleges that Praxair has discharged storm water
containing impermissible levels of TSS, pH, Iron, N+N, Aluminum and other pollutants in
violation of Effluent Limitation B(3), Discharge Prohibitions A(1) and A(2) and Receiving
Water Limitations C(1) and C(2) of the General Permit.’

These unlawful discharges from the Facility are ongoing. Each discharge of storm water
containing any of these pollutants constitutes a separate violation of the General Permit and the
Act, Consistent with the five-year statute of limitations applicable to citizen enforcement actions
brought pursuant to the CWA, Praxair is subject to penalties for violations of the General Permit
and the Act since May 22, 2009.

b. Failure To Develop And bmplement An Adequate Monitoring And Reporting
Program,

Section B of the General Permit describes the monitoring requirements for storm water
and non-storm water discharges. Facilities are required to make monthly visual observations of
storm water discharges (Section B(4)) and quarterly visual observations of both unauthorized. and
authorized non-storm water discharges (Section B(3)). Section B(5) requires facility operators to
sample and analyze at least two storm water discharges from all storm water discharge locations

4 The rain dates arc all the days when an average of 0.1 or more rain fell as measured by a
weather station located in Ontario approximatcly 10 miles away.

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during each wet season. Section B(7) requires that the visual observations and samples must
represent the “quality and quantity of the facility’s storm water discharges from the storm event.”

The above-referenced data was obtained from the Facility’s monitoring program as
reported in its Annual Reports submitted to the Regional Board, This data is evidence that the
Facility has violated various Discharge Prohibitions, Receiving Water Limitations, and Effluent
Limitations in the General Permit, To the extent the storm water data collected by Praxair is not
representative of the quality of the Facility’s various storm water discharges and that the Facility
failed to monitor all qualifying storm water discharges, CCAEJ alleges that the Facility’s
monitoring program violates Sections B(3), (4), (5) and (7) of the General Permit.

CCAE] also alleges that Praxair failed to sample discharges from all three outfalls during
2010-2011, failing to sample outfalls D1, D2 and D3.

CCAE] also alleges on information and belief that Praxair failed to conduct visual
observations in January 2010, March 2010, January 2011, February 2011 and January to March
2013, claiming that there were no qualifying rain events. On information and belief, CCA]
alleges that there were numerous qualifying rain events that would have resulted in discharges
during these periods.

The above violations are ongoing. Consistent with the five-year statute of limitations
applicable to citizen enforcement actions brought pursuant to the federal Clean Water Act,
Praxair is subject to penalties for violations of the General Permit and the Act’s monitoring and
sampling requirements since May 22, 2009.

c. Failure To Analyze For Mandatory Parameters.

With some limited adjustments, facilities covered by the General Permit must sample two
storm events per season ftom each of their storm water discharge locations. General Permit,
Section BG)(a). Collected samples must be analyzed for Total Suspended Solids, pH, Specific
Conductance and etther Total Organic Carbon or O&G. Jd. at Section B(5)(c)@). Facilities must
also analyze their storm water samples for “[t]oxic chemicals and other pollutants that are likely
to be present in storm water discharges in significant quantities,” including copper, lead, zinc,
aluminum, chemical oxygen demand, and iron, Jd, at Section B(5)(c)Gi). Additionally, because
Praxair filed its NOI under SIC Code 2813, it must sample for the additional pollutants of Tron,
Aluminum, and N+4N, See General Permit, Table D.

CCAEI’s investigation of Praxaix’s monitoring data indicates that Praxair failed to
analyze for N+N during the 2009-2010 wet season.

Each failure to analyze for mandatory parameters constitutes a separate violation of the
General Permit and the Act. Consistent with the five-year statute of limitations applicable to

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citizen enforcement actions brought pursuant to the CWA, Praxair is subject to penalties for
violations of the General Permit and the Act since May 22, 2009.

d. Failure To Prepare, Luplement, Review and Update An Adequate Storm
Water Pollution Prevention Plan.

Section A and Provision E(2) of the General Industrial Storm Water Permit require
dischargers of storm water associated with industrial activity to develop, implement, and update
an adequate storm water pollution prevention plan (hereinafter “SWPPP”) no later than October
1, 1992. Section A(1) and Provision E(2) requires dischargers who submitted an NOI pursuant
to the General Permit to continue following their existing SWPPP and implement any necessary
revisions to their SWPPP in a timely manner, but in any case, no later than August 1, 1997.

The SWPPP must, among other requirements, identify and evaluate sources of pollutants
associated with industrial activities that may affect the quality of storm and non-storm water
discharges from the facility and identify and implement site-specific best management practices
(hereinafter “BMPs”) to reduce or prevent pollutants associated with industrial activities in
storm water and authorized non-storm water discharges (General Permit, Section AQ)). The
SWPPP must include BMPs that achieve BAT and BCT (Effluent Limitation BG)). The SWPPP
must include: a description of individuals and their responsibilities for developing and
implementing the SWPPP (General Permit, Section A(3)); a site map showing the facility
boundaries, storm water drainage areas with flow pattern and nearby water bodies, the location
of the storm water collection, conveyance and discharge system, structural control measures,
impervious areas, areas of actual and potential pollutant contact, and areas of industrial activity
(General Permit, Section A(4)); a list of significant materials handled and stored at the site
(General Permit, Section A(5)); a description of potential pollutant sources including industrial
processes, material handling and storage areas, dust and particulate generating activities, a
description of significant spills and leaks, a list of all non-storm water discharges and their
sources, and a description of locations where soil erosion may occur (General Permit, Section

A(6)).

The SWPPP also must include an assessment of potential pollutant sources at the Facility
and a description of the BMPs to be implemented at the Facility that will reduce or prevent
pollutants in storm water discharges and authorized non-storm water discharges, including
structural BMPs where non-structural BMPs are not effective (General Permit, Section A(7),
(8)). The SWPPP must be evaluated io ensure effectiveness and must be tevised where
necessary (General Permit, Section A(9),(10)), The SWPPP must also include a certification
statement and signature (General Permit, Section C(10)),

CCAE)’s investigation of the conditions at the Facility as well as Praxair Annual Reports
indicate that Praxair has been operating with an inadequately developed SWPPP in violation of

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the requirements set forth above. Praxair has failed to evaluate the effectiveness of its BMPs and
to revise its SWPPP as necessary. Praxair has been in continuous violation of Section A and
Provision E(2) of the General Permit every day since May 22, 2009, at the very latest, and will
continue to be in violation every day that Praxair fails to prepare, implement, review, and update
an effective SWPPP. Praxair is subject to penalties for violations of the Order and the Act
occurring since May 22, 2009.

e. Failure To File True And Correct Annual! Reports.

Section B(14) of the General Industrial Storm Water Permit requires dischargers to
submit an Annual Report by July ist of each year to the executive officer of the relevant
Regional Board. The Annual Report must be signed and certified by an appropriate corporate
officer. General Permit, Sections B(14), C(9), C(10). Section A(9)(d) of the General Industrial
Storm Water Permit requires the discharger to include in their annual report an evaluation of
their storm water controls, including certifying compliance with the General Industrial Storm
Water Permit. See alvo General Permit, Sections C(9) and (10) and B(14).

During the 2009-2010, 2010-2011, 2011-2012 and 2012-2013 wet seasons, Praxair Inc.
inaccurately certified in the Annual Report that the facility was in compliance with the General
Permit. Consequently, Praxair has violated Sections A(9\(d), B(14), C9) and C(10) of the
General Industrial Storm Water Permit every time Praxair failed to submit a complete or correct
report and every time Praxair or its agents failed to comply with the Act. Praxair is subject to
penalties for violations of Section (C) of the General Industrial Storm Water Permit and the Act
occurring since May 22, 2009.

Yl. Persons Responsible For the Violations.

CCAEJ puts Praxair Inc., Roger Han, Steven Angel and Cindi Hughes on notice that they
are the persons responsible for the violations described above. If additional persons are
subsequently identified as also being responsible for the violations set forth above, CCAEJ puts
Praxair Inc., Roger Han, and Cindi Hughes on notice that it intends to include those persons in
this action.

TV. Name Aud Address Of Noticing Parties.

The name, address and telephone number of CCAE] is as follows:

Penny Newman
Executive Director
Center for Community Action and Environmental Justice

P.O. Box 33124

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Furupa Valley, CA 92519
Tel, (951) 360-8451

V. Counsel.

CCAET has retained counsel to represcnt it in this matter. Please direct all
communications to:

Gideon Kracov Michael R. Lozeau

The Law Office of Gideon Kracov Douglas J. Chermak

801 South Grand Avenue Lozeau Drury LLP

11th Floor 410 12th Street

Los Angeles, California 90017 Suite 250

Tel: (213) 629-2071 Oakland, California 94607
E-Mail: gk@gideonlaw.net ‘Yel: (510) 836-4200

E-Mail: michael@lozeaudrury.com
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Vi. Penalties,

Pursuant to Section 309(d) of the Act (33 U.S.C. § 1319(d)} and the Adjustment of Civil
Monetary Penalties for Inflation (40 C.F.R. § 19.4) each separate violation of the Act subjects
Praxair to a penalty of up to $37,500 per day per violation. In addition to civil penalties, CCAEJ
will seek injunctive relief preventing further violations of the Act pursuant to Sections 505(a)
and (d) (33 U.S.C. §1365(a) and (d)) and such other relief as permitted by law. Lastly, Section
505(d) of the Act (33 U.S.C. § 1365(d)), permits prevailing parties to recover costs and fees,
including attorneys’ fees,

CCAE] believes this Notice of Violations and Intent to File Suit sufficiently states
grounds for filing suit. CCALJ intends to file a citizen suit under Section 505(a) of the Act
against Praxair and its agents for the above-referenced violations upon the expiration of the 60-
day notice period. However, during the 60-day notice period, CCAEJ would be willing to
discuss effective remedies for the violations noted in this letter. If you wish to pursue such
discussions in the absence of litigation, CCAEJ suggests that you initiate those discussions
within the next 20 days so that they may be completed before the end of the 60-day notice period.
CCAEJ does not intend to delay the filing of a complaint in federal court if discussions are

iff

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continuing when that period ends.

we)
/

Gideon Kracov
The Law Office of Gideon Kracov
Attorneys for Center for Community Action and

Environmental Justice

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SERVICE LIST

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State Water Resources Control Board
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*Served via Certified Mail, Return Receipt Requested.

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ATTACHMENT A
Rain Dates, Praxair, Ontario, California

11/30/2009 12/6/2009 12/7/2009
12/16/2009 12/29/2009 1/3/2010
1/4/2010 1/5/2010 1/7/2010
1/9/2010 1/10/2010 2/7/2010
2/8/2010 2/12/2010 2/14/2010
2/17/2010 2/19/2010 2/20/2010
2/21/2016 2/22/2010 2/23/2010
2/25/2010 2/27/2010 2/28/2010
3/1/2010 3/2/2010 3/5/2010
3/15/2010 3/17/2016 11/30/2010
12/6/2010 12/7/2010 12/16/2010
1/3/2011 1/4/2011 1/5/2011
1/7/2014 1/9/2011 1/10/2011
2/7/2011 2/8/2011 2/12/2011
2/14/2011 2/V7F/2011 2/19/2011
2/20/2011 2/21/2011 2/22/2011
2/23/2011 2/25/2011 2/27/2011
2/28/2011 3/1/2011 3/2/2011
3/5/2011 3/15/2011 3/17/2011
11/36/2011 12/6/2011 12/7/2011
12/16/2011 12/29/2011 1/3/2012
1/4/2012 1/5/2012 1/7/2012
1/9/2012 1/10/2012 2/7/2012

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2/8/2012 2/12/2012 2/14/2012
2/17/2012 2/19/2012 2/20/2012
2/21/2012 2/22/2012 2/23/2012
2/25/2012. 2/27/2012 2/28/2012
2/29/2012 3/1/2012 3/2/2012
3/5/2012 3/15/2012 3/17/2012
11/30/2012 12/6/2012 12/7/2012
12/16/2012 12/29/2012 1/3/2013
1/4/2013 1/5/2013 1/7/2013
1/9/2013 1/16/2013 2/7/2013
2/8/2013 2/12/2013 2/14/2013
2/17/2013 2/19/2013 2/20/2013
2/24/2013 2/22/2013 2/23/2013
2/25/2013 2/27/2013 2/28/2013
3/1/2013 3/2/2013 3/5/2013
3/15/2013 3/17/2013 11/30/2013
12/6/2103 12/7/2013 12/16/2013
1/3/2014 1/4/2014 1/5/2014
1/7/2014 1/9/2014 1/10/2014
2/7/2014 2/8/2014 2/12/2014
2/12/2014 2/AV7/2014 2/19/2014
2/20/2014 2/21/2014 2/22/2014
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2/28/2014 3/1/2014 3/2/2014

3/5/2014

